\OOO\JO\Lh-£>~L)Jl\)*~‘

wmi\.)i\.)l\)z\)wl\.)z\)i-»-»@-‘h-“»~>-*»-i-\H»~*
oc\lc\<.n.:>.wt\.)~c»©oo\ao\m.ho)l\)_»c::

 

Case 3:14-cv-01424-.]LS-BGS Document 23-2 Filed 09/16/14 Page 1 of 3

Scott A. Mcl\/[illan, SBN 212506
Michelle D. Voll<, SBN 217151
Seau E. Smith, SBN 288973
The Mcl\/I.illan Law Firm, APC
4670 Nebo Dr., Snite 200

La Mesa, CA 91941»5230

’l`el. 619~464~1500 X 14

Fax. 206-600-5095

At"toi'neys for Petitioner,
Lycurgan, lnc.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

ln the l\/£atter of the Searcli of:

Ares Armor, 206/208 N Freeman
St, Oceanside; Ares Armor, 4l 6
National Ciry Blyd; Ares Armor
Warehouse, l_80 Roymar St D; and
2420 lndustry, Oceanside, CA

 

LYCURGAN, INC. d/b/a ARES
ARMOR,
Petitioner,

vs.
BUREA_U OF ALCOHOL,
TOBACCO, FIREARMS AND
EXPLOSIVES,

Respondent.

 

 

CASE NO. i4-CV~1424 JLS (BGS)

DECLARATIGN OF SCOTT A.
MCM{LLAN §N SUPPORT OF M()TION
FOR A NEW TRIAL (}R FURTHER
ACTION FROM THE COURT ON 'I`HE
JUDGMENT

§udge: Hon. lanis L. Samn?la!‘tino
Dept.: 4A

October 30, 2014

Time: 1:30 P.M.

DECLARATION ()F SC{)TT A. MCMELLAN

I, Scott A. Mcl\/[il.lan, declare as follows‘.

l. l am counsel for Petitioner Lycurgan, Inc. (“Lycurgan”) in the above captioned

case, and if called before this court or any other court l could and would testify

competently to the following from my own personal knowledge5 except as to those

matters l state on information and belief, and as to those matters l believe them to be

fm€.

 

\DOO`-.¥O\U`l-l§-L)J{\.)>_a

NNNI\)N[\)I\JE\J[\)>-*»-¢>-M>-Ji-~>-¢i_r…i_iw
OO~JO\KA-IBUJNF“CD\DOO\JO\UT-§~WN*'*C

 

Case 3:14-cv-01424-.]LS-BGS Document 23-2 Filed 09/16/14 Page 2 of 3

2. This declaration is made in support of Lycurgan’s motion for a new trial
pursuant to Federal Rule of Civil Procedure 59(a).

3. On l\/larch 14, 20l4, the Respondent Uriited States (“Government”) obtained a
search warrant under seal to search Lycurgan’s four leased real estate properties located
at: (l) 206/208 N. Freeman St., Oceanside, CA 92054; (2) 416 National Clty Blvd., Unit
B, National City, CA; (3) 180 Royrnar St., Suite D, Oceanside, CA 92058; and t4) 2420
lndustry_, Suite A, Oceanside, CA.

4. On l\/larch 15, 20l4, the Governrnent executed the search wairant, and
numerous agents from the Bureau of Alcoliol, Tohacco, Firearms and Explosives
(“BATFE”) swarnied Lycurgan’s business properties During its search, the BATFE
seized and carried away a large number of polymer castings, among a multitude of other
lawfully owned items that are necessary for the functioning of the business

5. On June l-l, 2014, Lycurgan filed a motion to unseal the search warrant
affidavit The G'overnment opposed 30th parties fully briefed the matter, and presented
oral arguments at the hearing on July 3 l, 20l4 in this Court. At the conclusion of the
hearing, the Court ordered the Government to submit supplemental briefing to justify
maintaining the sealing of the search warrant affidavit instead, the Governrnent
disclosed a redacted version of the affidavit on August l4, 2104, and called the issue
moot On August 2l, 2014, the Couit agreed with the Government and dismissed the
case. Lycurgan was not given an opportunity to respond to the Governrnent’s argument
that the case is moot Lycurgan was preparing a response to the disclosure of the
redacted affidavit at the time the Court issued its judgment Lycurgan was unable to
complete its response to the Goverrirnent’s disclosure prior to the Couit ordering the case
dismissed

6. Dimitrios Karras, CEO of lsyeurgan, has a civil, professional relationship with
Special Agent Gordon Geerdes who was involved in the execution of the search and

seizure At the J`uly 3 l, 2014 hearing, the Goverriment admitted that “Special Agent

 

l4"ci)"]424 JLS (BGS) DECLARATION OP SCOTT A. MCMILLAN 2

 

10
ll
l2
13
14
l5
l6
l7
18
l9
20
23
22
23
24
25
26
27
28

oo~ao\ui.i>._o)N»-»

 

Case 3:14-cv-Ol424-.]LS-BGS Document 23-2 Filed 09/16/14 Page 3 of 3

Geerdes has spoken highly of [Mr. Karras].” The Governrnent raised some concern
about a life~size cut~out of an agent and about the delivery of pizzas to some agents
Plaintiff addressed these concerns in the briefing and orally at the hearing, reassuring
that neither act was done as a threat or with any ill-intentions Mr. Karras even vowed to
remove the life~size cut-out upon request from Special Agent Geerdes.

l declare under the penalty of perjury according to the laws of the United States,
that the foregoing is true and correct and that this declaration was signed on September

l6, 20l4, in the County of San Diego, California.

/s/ Scott A. Mcl\/lillan
Scott A. Mcl\flillan

 

 

]4-cv-] 424 JLS (BGS) DECLARATION OF SCOTT A. Mchl.LAl\I 3

 

